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                                                      U.S. District Court

                                                  Virginia Eastern - Alexandria
                                                                                                              Receipt Date: Jun 4, 2024 4:50PM
Ken Sheets



 Rcpt. No: 100007260                                        Trans. Date: Jun 4, 2024 4:50PM                                   Cashier ID: #DE


 CD       Purpose                                     Case/Party/Defendant                       Qty                  Price              Amt


 *2018    Civil Filing Fee/PLRA-PIF/Non-IFP                                                       1                 405,00             405.00




 CD       Tender                                                                                                                          Amt


 CC       Credit Card                                                                                                                 $405.00

                                                                                Total Due Prior to Payment:                           $405.00

                                                                                           Total Tendered:                            $405.00

                                                                                      Total Cash Received:                              $0.00

                                                                                     Cash Change Amount:                                $0.00


 Comments: New Civil Filing l:24-cv-958- RDA-WEF Under Seal v Under Seal



 Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
 will be charged for a returned check.
